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                                                                                5/21/2025
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION

DANIEL P. MOOK,                            )
                                )
              Plaintiff,        )                  Case No. 4:23-cv-00028
                                )
v.                              )                  ORDER
                                )
CITY OF MARTINSVILLE, VIRGINIA, )                  By:    Hon. Thomas T. Cullen
and G. ANDREW HALL,             )                         United States District Judge
                                )
           Defendants.          )


       This matter is before the court on Defendant City of Martinsville’s (“the City’s”)

motion for summary judgment. (ECF No. 53.)

       Both the City and Defendant Andrew Hall moved for summary judgment on April 18,

2025. (ECF Nos. 52, 53.) Mook characterized his sole response brief as a response to “the

Motion for Summary Judgment filed by the defendant, G. Andrew Hall.” (ECF No. 59

(emphasis added).) That response addresses only the statements of fact in Hall’s motion for

summary judgment and responds only to the arguments in Hall’s motion. (See id.) Because

Plaintiff Daniel Mook did not respond to its motion, the City contends the court should grant

the motion on the basis that Mook has conceded his claims against the City. (See generally ECF

No. 61.)

       Based on the lack of any filing addressed to or referencing the City’s motion, the court

concludes that Mook has failed to respond to the City’s motion. Further, the court agrees that

Mook’s failure to respond constitutes a concession as to the City’s arguments and therefore

deems the motion unopposed. See United Supreme Council v. United Supreme Council of the Ancient
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Accepted Scottish Rite for the 33 Degree of Freemasonry, 329 F. Supp. 3d 283, 292 (E.D. Va. 2018),

aff’d, 792 F. App’x 249 (4th Cir. 2019) (“Failure to respond to an argument made in a

dispositive pleading results in a concession of that claim.”); see also Order ¶ 10, Aug. 9, 2024

(ECF No. 28) (“[I]f the nonmovant does not timely file an opposition brief, the court will

consider the motion unopposed.”) . Accordingly, the City’s motion for summary judgement

(ECF No. 53) is GRANTED.

       The Clerk is directed to forward a copy of this Order to the parties.

       ENTERED this 21st day of May, 2025.

                                                    /s/ Thomas T. Cullen____________
                                                    HON. THOMAS T. CULLEN
                                                    UNITED STATES DISTRICT JUDGE




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